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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


                                              )   Civil Action No. 25-0418
LAS AMERICAS IMMIGRANT                        )
ADVOCACY CENTER, et al.,                      )
                                              )
                                              )
              Petitioners,                    )
                                              )
 v.                                           )
                                              )
 KRISTI NOEM, Secretary of the U.S.           )
 Department of Homeland Security,             )
 et al.,                                      )
                                              )
              Respondents.                    )
                                              )


                      RESPONDENTS’ OPPOSITION TO MOTION
                      FOR TEMPORARY RESTRAINING ORDER
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                                       INTRODUCTION

       On January 29, 2025, the President directed the Secretary of Defense and the Secretary of

Homeland Security to take all appropriate actions to expand the Migrant Operations Center at the

Guantanamo Bay Naval Station (NSGB) to allow for the housing of “high-priority criminal aliens

unlawfully present in the United States.”1 Since that time, a total of 178 detainee who have been

ordered removed from the United States have been moved to Guantanamo in route to completing

their repatriation to their home country. These detainees are all subject to final orders of removal

to Venezuela, have not been granted any relief or protection from removal, and are at NSGB for

staging for final removal. Exhibit A, Declaration of Juan Agudelo at ¶ 10; see generally Exhibit

B, Declaration of Juan Agudelo (relating to named detainees) (Agudelo Detainee Declaration).

Accordingly, their detention is authorized by the Immigration and Nationality Act (INA). See 8

U.S.C. §§ 1225(b)(1)(B)(iii)(IV) (authorizing detention pending removal on an expedited removal

order); 1231(a)(2), (6) (authorizing detention pending removal on removal orders entered

following “full” removal proceedings). The Department of Homeland Security (DHS) has broad

discretion to decide where to house immigration detainees when staging, finalizing, and

implementing a removal operation. See 8 U.S.C. § 1252(a)(2)(B)(ii), (f), (g). Nonetheless,

Petitioners, three family members of NSGB detainees and four immigrant advocacy associations,

bring this request for a temporary restraining order on behalf of all immigration detainees

transferred to NSGB. Among their many requests, Petitioners seek unrestricted access to counsel,




1
  The White House, “Expanding Migrant Operations Center at Naval Station Guantanamo Bay to
Full Capacity” (Jan. 29, 2025),
https://www.whitehouse.gov/presidentialactions/2025/01/expanding-migrant-operations-center-
at-naval-station-guantanamo-bay-to-fullcapacity/.
                                                 1
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in-person visits, and 72-hour notice before immigration detainees can be moved on to or off of the

NSGB.

          The emergency request should be denied. Petitioners lack standing to bring these claims as

third-parties or next friends. Even if the immigrant detainees were before this Court as Petitioners,

the proposed temporary restraining order (TRO) seeks extraordinary relief that far exceeds the

Court’s authority because Congress expressly barred federal courts from interfering with the

execution of removal orders. See 8 U.S.C. § 1252(a)(2)(B)(ii), (f), (g). To the extent the Court has

jurisdiction to consider Petitioners’ claims regarding counsel access, that access has been provided

by the United States to the three individual detainees and preliminary access procedures have been

developed for others at the facility. Petitioners’ claims are also premised on an overstated framing

of the limited rights of immigration detainees with final orders of removal, who are staged for final

transfer and in the midst of a removal operation. The public equities support the enforcement of

final orders of removal and deference to the Executive’s judgment regarding how to best effectuate

timely removals to a country that is now accepting removals, but has been notoriously resistant to

taking back its own citizens. Agudelo Declaration at ¶ 11. Accordingly, the motion should be

denied.

                                          BACKGROUND

I.        Detention and Removal of Individuals with Final Orders of Removal.

          The Executive Branch has extensive constitutional authority in the field of immigration,

and Congress has further conferred broad statutory discretion over the administration and

enforcement of the nation’s immigration laws. United States ex rel. Knauff v. Shaughnessy, 338

U.S. 537, 543 (1950); see, e.g., 6 U.S.C. § 202(5); 8 U.S.C. § 1103(a)(3). Prior to January 20,




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2025,2 applicants for admission who were intercepted at entry or shortly after unlawfully entering

the United States could be subject to an expeditious process to remove them from the United States

under 8 U.S.C. § 1225(b)(1) as described herein. Under this process—known as expedited

removal—applicants for admission arriving in the United States (as designated by the Secretary of

Homeland Security) who entered illegally and lack valid entry documentation or make material

misrepresentations shall be “order[ed] . . . removed from the United States without further hearing

or review unless the alien indicates either an intention to apply for asylum under [8 U.S.C. § 1158]

or a fear of persecution.” 8 U.S.C. § 1225(b)(1)(A)(i); see 8 U.S.C. § 1182(a)(6)(C), (a)(7); see

also Dep’t of Homeland Sec. v. Thuraissigiam, 591 U.S. 103, 107-110 (2020) (discussing

expedited removal); Am. Immigration Lawyers Ass’n v. Reno (AILA), 199 F.3d 1352, 1354-55

(D.C. Cir. 2000) (same). They will remain subject to a final order of expedited removal if they do

not manifest a fear of return, or if they manifest fear but are unable to show that the fear is credible.

See 8 U.S.C. §§ 1225(b)(1)(A)(ii), 1225(b)(1)(B)(v); 8 C.F.R. § 233.15(b)(4). Individuals subject

to a final order of expedited removal can be lawfully detained until they are removed from the

United States. 8 U.S.C. § 1225(b)(1)(B)(iii)(IV). Individuals subject to final orders of expedited

removal have very limited due process rights with respect to their admission to the United States.

See Thuraissigiam, 591 U.S. at 138-40.

        If the applicant for admission manifests a fear of return and the asylum officer determines

that they have a credible fear, the officer may refer them to removal proceedings under 8 U.S.C.

§ 1229a. 8 U.S.C. § 1225(b)(1)(B)(ii); 8 C.F.R. § 208.30(f). These removal proceedings provide

more extensive procedures than expedited removal, compare 8 U.S.C. § 1229a with § 1225(b)(1),


2
 See Protecting the American People Against Invasion,
https://www.whitehouse.gov/presidential-actions/2025/01/protecting-the-american-people-
against-invasion/ (Jan. 20, 2025).

                                                   3
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including a right to appeal to the Board of Immigration Appeals (Board) and a federal appellate

court. 8 U.S.C. § 1252(a)(1). An applicant for admission who demonstrates a credible fear “shall

be detained for further consideration of the application for asylum.”3 8 U.S.C. § 1225(b)(1)(B)(ii);

Jennings, 583 U.S. at 297 (“Read most naturally, §§ 1225(b)(1) and (b)(2) . . . mandate detention

of applicants for admission until certain proceedings have concluded.”).

       For anyone with a final order of removal entered following removal proceedings held under

8 U.S.C. § 1229a, Congress has authorized detention under 8 U.S.C. § 1231(a) while the

government works to execute the removal order. Section 1231(a)(6), as interpreted by the Supreme

Court in Zadvydas v. Davis, 533 U.S. 678, 699-701 (2001), limits post-final-order detention to the

period reasonably necessary to accomplish removal. 533 U.S. at 701. The Court determined that

six months is a presumptively reasonable period of time to allow the government to complete

removal after the removal period has commenced. Id. at 701. Once the six-month period has

lapsed, and “the alien provides good reason to believe that there is no significant likelihood of

removal in the reasonably foreseeable future, [then] the Government must respond with evidence

sufficient to rebut that showing.” Id.

       “This 6–month presumption, of course, does not mean that every alien not removed must

be released after six months. To the contrary, an alien may be held in confinement until it has been

determined that there is no significant likelihood of removal in the reasonably foreseeable future.”

Zadvydas, 533 U.S. at 701. In making this assessment, the Supreme Court has counseled

immigration habeas courts to apply “[o]rdinary principles of judicial review” in order to “give



3
  The only exception to § 1225(b)(1)’s detention mandate is found in 8 U.S.C. § 1182(d)(5)(A),
which allows DHS to parole applicants for admission into the United States for “urgent
humanitarian reasons or significant public benefit.” See Jennings, 583 U.S. at 300 (holding that
the existence of § 1182(d)(5)(A)’s “express exception to detention implies that there are no other
circumstances under which aliens detained under § 1225(b) may be released”).
                                                 4
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expert agencies decisionmaking leeway in matters that invoke their expertise” and “recognize [the]

Executive Branch[’s] primacy in foreign policy matters.” Id. at 700 (citing Pension Benefit

Guaranty Corporation v. LTV Corp., 496 U.S. 633, 651-652 (1990); Container Corp. of America

v. Franchise Tax Bd., 463 U.S. 159, 196 (1983)). Specifically, the Supreme Court instructed

habeas courts to “listen with care when the Government’s foreign policy judgments, including, for

example, the status of repatriation negotiations, are at issue, and to grant the Government

appropriate leeway when its judgments rest upon foreign policy expertise.” Zadvydas, 533 U.S. at

700.

II.    Immigration Detention at NSGB

       On January 29, 2025, the President issued a Memorandum ordering DHS and the

Department of Defense (DoD) to take all necessary steps to expand the Migrant Operations Center

in NSGB to allow for the housing of “high-priority criminal aliens unlawfully present in the United

States.”4 DoD acted swiftly to comply with the President’s Order by creating the Joint Task Force

Southern Guard (JTF-SG). Exhibit C, Declaration of Col. Jennifer Venghaus at ¶¶ 3, 6-10. In

addition to JFT-SG, NSGB hosts a variety of missions including maritime security, humanitarian

assistance, and joint operations, including Joint Task Force Guantanamo (JTF-GTMO), which is

the JTF responsible for the safe and humane custody of law-of-war detainees. 5 Venghaus

Declaration at ¶ 3. NSGB’s unique geographic location provides strategic advantages, enhancing

U.S. defense capabilities in the region and serving as a critical forward operating base for various

military and humanitarian activities. Venghaus Declaration at ¶ 4.



4
  See note 1.
5
  In addition to immigration detainees, NSGB currently hosts 15 law-of-war detainees. It also
regularly houses migrants interdicted at sea with humanitarian protection concerns, who stay at
NSGB on a voluntary basis rather than returning to their countries of origin. Respondents
understand these populations to be outside the scope of the present dispute.
                                                 5
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       JTF-SG currently consists of approximately 985 personnel, which includes JTF-SG staff,

medical, security, engineer, and logistics personnel. Venghaus Declaration at ¶ 10. As of February

19, 2025, 178 immigration detainees, all of whom have final orders of removal to Venezuela, had

been transferred to NSGB as a staging point in route to completing their removals. Agudelo

Declaration at ¶¶ 6, 10. The detainees are housed in two areas of the base, with the higher-threat

immigration detainees housed in Camp VI and the lower-threat detainees housed in and around

the Migrant Operations Center (MOC). Venghaus Declaration at ¶¶ 11-14.

       DHS has developed standards and procedures applicable to immigration detainees at

NSGB. Agudelo Declaration at ¶¶ 12-16; Venghaus Declaration at ¶¶ 21-22. Although DHS and

DoD have no record of any detainee making a requested to speak to counsel prior to filing of this

suit, on February 19, 2025, DHS posted written notice, in English and Spanish, of the procedure

for detainees to request to place a private, unmonitored telephone call to counsel. Venghaus

Declaration at ¶ 17, 21; Agudelo Declaration at ¶ 12-16. For detainees housed at Camp VI, counsel

calls are conducted in a building adjacent to Camp VI. Venghaus Declaration at ¶ 23. It has six

telephones in six separate rooms, each with a table and chair. Venghaus Declaration at ¶ 23. During

the calls, guards maintain line of sight through the use of video monitoring (which does not include

sound). Venghaus Declaration at ¶ 23. The building is a short walk from the main Camp VI

building and requires two escorts for each Camp VI detainee. Venghaus Declaration at ¶ 23. For

detainees housed at the MOC, counsel calls occur from a private room. Agudelo Declaration at ¶

16.

       Retained counsel for the detainees are also able to make requests for phone calls to their

clients. Venghaus Declaration at ¶ 25; Agudelo Declaration at ¶ 14. Detainees have the ability to

send and receive legal mail through the process used by law-of-war detainees. Venghaus



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Declaration at ¶ 27; Agudelo Declaration at ¶ 14, 17. DHS and DoD will continue to assess the

operational needs of the mission and make adjustments to procedures as needed. For example,

DoD and DHS are not presently offering the opportunity for in-person visits to immigration

detainees at NSGB but will continue to evaluate whether to extend this option in light of significant

logistical challenges, the availability of alternative means of counsel communication, and the

anticipated short duration of immigration detainee stays at NSGB. Venghaus Declaration at ¶ 29.

                                       LEGAL STANDARD

         A plaintiff seeking a temporary restraining order “must establish [1] that he is likely to

 succeed on the merits, [2] that he is likely to suffer irreparable harm in the absence of preliminary

 relief, [3] that the balance of equities tips in his favor, and [4] that an injunction is in the public

 interest.” Aamer v. Obama, 742 F.3d 1023, 1038 (D.C. Cir. 2014) (alteration in original)

 (quoting Sherley v. Sebelius, 644 F.3d 388, 392 (D.C. Cir. 2011)); Abdullah v. Obama, 753 F.3d

 193, 197–98 (D.C. Cir. 2014) (same). The last two factors merge when the government is a party.

 Nken v. Holder, 556 U.S. 418, 435 (2009). A preliminary injunction “is an extraordinary and

 drastic remedy, one that should not be granted unless the movant, by a clear showing, carries the

 burden of persuasion.” Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (per curiam) (emphasis

 in original) (quoting 11A C. Wright, A. Miller, & M. Kane, Federal Practice and

 Procedure § 2948 (2d ed. 1995)). The Court of Appeals has emphasized that the “first and most

 important factor” is whether the moving party has “established a likelihood of success on the

 merits.” Aamer, 742 F.3d at 1038. “[W]hen a plaintiffs has not shown a likelihood of success on

 the merits, we need not consider the other factors.” Greater New Orleans Hous. Action Ctr. v.

 HUD, 639 F.3d 1078, 1088 (D.C. Cir. 2011).

       The    D.C.     Circuit   has    expressly       cautioned   that   “[t]he     power   to    issue



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a preliminary injunction, especially a mandatory one, should be ‘sparingly exercised.’” Dorfmann

v. Boozer, 414 F.2d 1168, 1173 (D.C. Cir. 1969) (citation omitted). Heeding this caution, where,

as here, the requested injunction is “mandatory—that is, where its terms would alter, rather than

preserve, the status quo by commanding some positive act,” the Court requires the moving party

to “meet a higher standard than in the ordinary case by showing a clear entitlement to relief to

avoid extreme or very serious damage.” See, e.g., Elec. Privacy Info. Ctr. v. Dep't of Justice, 15 F.

Supp. 3d 32, 39 (D.D.C. 2014) (“EPIC II”) (collecting cases); Veitch v. Danzig, 135 F. Supp. 2d

32, 35 & n.2 (D.D.C. 2001) (holding that where “a ruling would alter, not preserve, the status quo,”

the plaintiff “must meet a higher standard than were the injunction he sought merely prohibitory,”

in light of the Supreme Court's holding that “‘[t]he purpose of a preliminary injunction is merely

to preserve the relative position of the parties until a trial on the merits can be held’” (alteration in

original) (quoting Univ. of Tex. v. Camenisch, 451 U.S. 390, 395 (1981))).

                                            ARGUMENT

        Petitioners are not likely to succeed in securing their requested relief and cannot show that

the requested relief is in the public’s interest. First, Petitioners lack standing to bring claims

challenging a third party’s access to counsel and the courts. Second, the Court lacks jurisdiction to

award Petitioners the sweeping relief sought by their motions due to the Court’s limited authority

over removal operations and transfer decisions. Third, Petitioners’ claims fail on the merits as the

detainees are not entitled to the burdensome and operationally infeasible measures sought by the

motion. Finally, the TRO is not in the public interest as it undermines DHS’s ability to fulfill its

statutory duty to effect removal for those who have been determined to be removable consistent

with the INA. Accordingly, Petitioners’ motion should be denied.




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I.      Petitioners lack standing to seek the relief sought by the proposed TRO.

        Petitioners, three family members of detainees and four immigration organizations, assert

claims on behalf of detainees who are not themselves part of this litigation. Because detainees at

the NSGB have the ability to assert claims on their own behalf, there is no basis for allowing

Petitioners to bring the case as organizational plaintiffs, third parties, or next friends.

        A. The Organizational Petitioners have not pleaded a cognizable injury to
           themselves.

        The Organizational Petitioners broadly describe their mission as advocating for “the rights

of immigrants in the United States.” Pets. Mot. at 6. Nothing in the President’s Memorandum,

however, directly regulates any legal advocacy organization or implicates their legally protected

interests in any way. At most, the Organizational Petitioners claim an indirect impact from the

Memorandum’s effect on detainees whom they seek to engage as prospective clients. But that is

simply not the type of “invasion of a legally protected interest” sufficient to support Article III

standing. Gill v. Whitford, 585 U.S. 48, 65 (2018); see Lujan v. Defs. of Wildlife, 504 U.S. 555,

562 (1992). Importantly, at the time of filing the complaint and TRO motion, the Organizational

Petitioners did not represent any individual at NSGB, nor did they represent any immigration

detainees at NSGB prior to the beginning of this removal operation. See Agudelo Detainees Decl.

¶¶ 11, 27.

        The Organizational Petitioners claim they are concerned about the general plight of NSGB

immigration detainees, including the possibility that some may be “erroneously denied access to

the asylum process.” Pets. Mot. at 6. But to allege a concrete injury, an unregulated organizational

plaintiff must allege “far more than simply a setback to the organization’s abstract social interests.”

Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982). As the Supreme Court has made clear,

“a mere interest in a problem, no matter how longstanding the interest and no matter how qualified


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the organization is in evaluating the problem, is not sufficient by itself” to confer standing. Sierra

Club v. Morton, 405 U.S. 727, 739 (1972) (internal quotation marks omitted). Nor may

organizational standing “be premised on a broadly stated mission or goal.” Arizona All. for Retired

Ams. v. Mayes, 117 F.4th 1165, 1177 (9th Cir. 2024).

        The Organizational Petitioners go on to note that they have “expended significant staff time

and resources to track their clients’ locations, request information from detention centers . . . ,

follow up with concerned family members, advocate against transfers, adjust existing protocols

and training, and attempt communication” with transferred individuals, Pets. Mot. at 7—in short,

the kinds of actions an advocacy organization would typically be expected to take in furtherance

of their stated missions. The Organizational Petitioners contend they will have to “divert additional

resources” as they respond to the implementation of the President’s Memorandum, id. at 15, but

that does not alter the fact that the alleged actions and related expenditures are ones they have

elected to undertake as a continuation of their core activities.

        An organization “cannot spend its way into standing simply by expending money to gather

information and advocate against the defendant’s action.” FDA v. Alliance for Hippocratic

Medicine, 602 U.S. 367, 394 (2024). Instead, “something about the challenged action itself—rather

than the organization’s response to it—must make the organization’s task more difficult.” Ctr. for

Responsible Sci. v. Gottlieb, 346 F. Supp. 3d 29, 41 (D.D.C. 2018) (cleaned up). Thus, even if the

Organizational Petitioners here might have had to shift resources “from one set of pre-existing

activities in support of their overall mission to another, new set of such activities,” they could not

establish organization injury based on an alleged diversion of resources. Arizona All., 117 F.4th at

1180.




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       These standing requirements are not limited to pure issue-advocacy organizations but apply

equally to direct services organizations that expend money and other resources as the result of a

policy. Even for such organizations, courts may “not allow the diversion of resources in response

to a policy to confer standing—instead, the organization must show that the new policy directly

harms its already-existing core activities.” Arizona All., 117 F.4th at 1177 (explaining that the

Supreme Court in Alliance foreclosed “[e]ven the narrowest reading of [the Ninth Circuit’s]

organizational standing precedents [that] allowed Petitioners to satisfy Article III using the []

frustration-of-mission and diversion-of-resource theories”). To hold otherwise would

impermissibly allow organizations to “manufacture [their] own standing” to challenge any policy

that touches on their mission. See Alliance, 602 U.S. at 394.

       Finally, Petitioners are foreclosed from even raising any diversion-of-resource claim to the

extent it is grounded on the notion of a “total blackout on information.” Pets. Mot. at 15.

Petitioners’ theory is that they are unable to recruit clients at NSGB. But this theory cannot be

squared with the reality that none of these organizations made any effort to represent the

individuals during their removal proceedings and have instead stepped in only in the midst of an

ongoing removal operation. And as explained in more detail below, there simply is no “wholesale

restriction of attorney-client communication,” Pets. Mot. at 15, as Petitioners contend. The NSGB

operation is meant to be a temporary stopover, and access procedures are being developed

consistent with that mission. Importantly, detainees at NSGB now have the ability to make calls

to counsel in a private space and to send and receive legal mail. Venghaus Declaration at ¶¶ 23-

27; Agudelo Declaration at ¶¶ 12-17.

       Without the “blackout” policy that Petitioners posit, the Organizational Petitioners cannot

demonstrate the requisite impairment of their ability to contact prospective clients. To the extent



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they rely on the potential diversion of litigation and advocacy services they may opt to provide

NSGB detainees, such allocation of resources is consistent with their core missions as legal service

providers who regularly advocate on behalf of immigration detainees, which thus cannot establish

organizational standing. Arizona All., 117 F.4th at 1180.

       In sum, any right the Organizational Petitioners might have to bring this suit would have

to fall under the rubric of third-party or next-friend standing. Petitioners, however, all fail to meet

the prerequisites to claim standing under either theory, for the reasons stated below.

       B.      Petitioners cannot establish third-party standing.

       A plaintiff ordinarily “must assert his own legal rights and interests, and cannot rest his

claim to relief on the legal rights or interests of third parties.” Warth v. Seldin, 422 U.S. 490, 499

(1975). There may be “circumstances where it is necessary to grant a third party standing to assert

the rights of another,” Kowalksi v. Tesmer, 543 U.S. 125, 129–30 (2004), but those are “limited,

and usually only found in three contexts: attorney-client, vendor-vendee, and employer-

employee,” Ams. for Immigrant Just. v. U.S. Dep’t of Homeland Sec., No. 22-cv-3118, 2023 WL

1438376, at *9 (D.D.C. Feb. 1, 2023) (citing Kowalski, 543 U.S. at 129). Here, the Organizational

Petitioners assert third-party standing to bring suit on behalf of unidentified detainees—

“prospective clients,” in their words—but they have not shown that they could meet any of the

requirements for third-party standing, whether (1) “injury in fact,” (2) “a close relation to the third

party,” or (3) “some hindrance to the third party’s ability to protect his or her own interests.” Pets.

Mot. at 15–17; Powers v. Ohio, 499 U.S. 400, 411 (1991).

       “In the organizational context, the first question”—whether a party asserting third-party

standing has sustained an injury in fact—“is the same as organizational standing.” Ams. for

Immigrant Just., 2023 WL 1438376, at *9. As explained in the prior section, the Organizational



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Petitioners conjecture that they will have to expend and “divert” significant time and resources as

a consequence of the transfer of immigration detainees to NSGB, but the Supreme Court has

decisively foreclosed the use of any frustration-of-mission or diversion-of-resource rationale to

establish an organization’s standing. See Alliance, 602 U.S. at 394.

       As for the individuals named in this case—Ms. Gomez Lugo, Ms. Sequera, and Ms.

Castillo—Petitioners assert that they have sustained “concrete injury because they are . . . unable

to contact and communicate with their brothers and son.” Pets. Mot. at 16. From this statement, it

is not evident that they have posited a “legally protected interest” necessary to establish an injury

in fact to themselves.” See Lujan, 504 U.S. at 560; see also McConnell v. Fed. Election Comm’n,

540 U.S. 93, 227 (dismissal warranted on standing grounds where Petitioners’ claimed injury was

“not to a legally cognizable right”). At most, the crux of their argument appears to be that they

have been deprived of some right to familial association. But there is no statutory or constitutional

right to familial association with a person being removed from the United States. On the contrary,

various cases over the years have established that neither United States citizens nor lawful

permanent residents have any constitutional rights with respect to the removal of their spouses or

other family members. See, e.g., Swartz v. Rogers, 254 F.2d 338, 339 (D.C. Cir. 1958) (reasoning

that while “deportation would put burdens upon the marriage,” it “would not in any way destroy

the legal union which the marriage created”); Noel v. Chapman, 508 F.2d 1023, 1027 (2d Cir.

1975) (holding that “wives as resident aliens have no constitutional right to keep [their husbands]

[in the United States] on the theory that the integrity of the family is protected by equal protection

principles”); Silverman v. Rogers, 437 F.2d 102, 107 (1st Cir. 1970) (refusing to enjoin the

deportation of a deportee who was married to a United States citizen and rejecting the claim that

the action would “destroy[]” the “validity of their marriage”). To the extent the individual



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Petitioners might seek any “special solicitude” for their family members or the “unity of [their]

family,” the Supreme Court has made clear that “such solicitude is a matter of legislative grace

rather than fundamental right.” See Dep’t of State v. Munoz, 602 U.S. 899, 916 (2024).

       On the second prong, while the Supreme Court has held that a “close relation” can exist

between an attorney and an existing client, the Court also clarified that an “existing attorney-client

relationship is, of course, quite distinct from the hypothetical attorney-client relationship.”

Kowalksi, 543 U.S. at 131. The Court, for that matter, has expressly disapproved the notion that

“lawyers generally have third-party standing to bring in court the claims of future unascertained

clients.” Id. at 134 (internal quotation marks omitted). That is just the situation presented here:

other than the three detainees identified in this suit, the Organizational Petitioners do not have a

“close relationship” with any “prospective client” who might be subject to transfer to NSGB;

“indeed, they have no relationship at all.”6 Id. at 131.

       Third, Petitioners are also unable to meet the “hindrance” requirement for third-party

standing. Whether immigration detainees at NSGB are hindered from asserting their own rights

and interests depends on whether any alleged “communications restrictions . . . prevent sufficient

access to judicial process.” See Ams. for Immigrant Just., 2023 WL 1438376, at *11. As the agency

has attested, there are now procedures in place for detainees at NSGB to seek legal counsel and

communicate with their attorneys in a private space. Venghaus Declaration at ¶¶ 18-20; 23-27;

Agudelo Declaration at ¶ 12-16; Agudelo Detainees Declaration ¶¶ at 13, 29, 38. Thus, Petitioners



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  To the extent the Organizational Petitioners (or others) end up representing any other
immigration detainees at NSGB, those individuals—like the three identified detainees—would
then be able to assert their own rights and interests, obviating any need for another party to try to
claim third-party standing on their behalf. See Warth, 422 U.S. at 499 (holding that a party
“generally must assert his own legal rights and interests, and cannot rest his claim to relief on the
legal rights or interests of third parties,” and that the Court in most cases does not “look favorably
upon third-party standing”).
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cannot show that the immigration detainees are being denied “sufficient access to judicial process”

such that the organizations must be accorded third-party standing.

       Petitioners claim that there may have been a delay in the location information provided by

ICE’s Online Detainee Locator System for the individual Petitioners, yet they also note that

counsel was able to communicate with ICE personnel to receive updates for some of those

individuals, and their suggestion that they should be able to “access [prospective] clients either by

telephone or in-person within 24-48 hours” is not an entitlement created by any law nor is it any

evidence of a “total ban on attorney-client communication” with respect to detainees who may be

transferred to NSGB. Compl. at 25; Declaration of Jennifer Babaie, ¶ 10.

       To the extent there are any reported issues with the communications policies, technology,

or access at NSGB, those are operational challenges that the agencies are working to address in

these early stages of the Memorandum’s implementation. At bottom, Petitioners take issue with

the fact that “the government has not announced any protocols for allowing attorney access,” and

then leap from that premise to contend that Respondents have imposed a blank prohibition on all

communications with NSGB that they believe will persist into the future. Pets. Mot. at 1. But their

pleadings are out of date with this developing operation and now refuted by the communications

protocols that DHS has established for NSGB immigration detainees. It is simply not true that

access to counsel is being “unconstitutionally restricted.” See Americans for Immigrant Just., 2023

WL 1438376, at *11. The three identified detainees have communicated with attorneys, Agudelo

Detainees Declaration ¶¶ at 13, 29, 38, and even if the agency is not facilitating in Petitioners’

preferred way, that is insufficient to confer third-party standing on them. See Zadvydas, 533 U.S.

at 694 (“nature of [due process] protection[s] may vary depending upon status and circumstance”);




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Biwot v. Gonzales, 403 F.3d 1094, 1098 (9th Cir. 2005) (access to counsel violated only when

conditions are “tantamount to denial of counsel”).

       C.       Petitioners cannot establish next-friend standing.

       Petitioners do not have next-friend standing to bring detention-related claims on behalf of

immigration detainees transferred to NSGB. For next-friend standing—which arose out of the

habeas context and is codified in the habeas statute at 28 U.S.C. § 2242—Petitioners must meet

several requirements: First, they must provide “an adequate explanation—such as inaccessibility,

mental incompetence, or other disability—why the real party in interest cannot appear on his own

behalf to prosecute the action.” Whitmore v. Arkansas, 495 U.S. 149, 163 (1990). Second, they

must demonstrate that they are “truly dedicated to the best interests of the person on whose behalf

[they] seek[] to litigate.” Id. Additionally, the Supreme Court has noted in dicta that a next friend

plaintiff “must have some significant relationship with the real party in interest.” Id. at 163–64.

Petitioners do not satisfy these conditions.

       Petitioners argue that immigration detainees transferred to NSGB are inaccessible, based

largely on their representations that ICE has not updated the location of those individuals in a

timely manner and that “repeated attempts to locate them via telephone and email inquiry” were

not met with a response from ICE officials. Pets. Mot. at 10–11. Those isolated experiences,

however frustrating, were time-limited and do not amount to the kind of “inaccessibility, mental

incompetence, or other disability” required to find that a detainee cannot prosecute his own habeas

case, and in any case are trumped by the agency’s clear showing that detainees at NSGB now have

a meaningful avenue to communicate with counsel. Nor is it fair to compare the situation to the

one faced by this Court in crafting habeas procedures for Guantanamo law-of-war detainees – the

three individuals here were afforded a full panoply of rights (including robust counsel access) prior



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to their arrival at NSGB to challenge their removals, they did not prevail in those challenges, and

they are now in the midst of repatriation operation. This is not like the situation that led to elaborate

representation procedures for law-of-war detainees at Guantanamo. In sum, because immigration

detainees at NSGB can confer with their attorneys by telephone under a defined set of agency

protocols, NSGB immigration detainees can avail themselves of legal services to advance their

own interests and prosecute any legal claims. Venghaus Declaration at ¶¶ 23-27; Agudelo

Declaration at ¶ 12-17.

        With respect to the “best interests” requirement, the Organizational Petitioners assert that

they meet it as institutions “‘with an established history of concern for the rights of individuals in

the detainees’ circumstances.’” Pets. Mot. at 11 (quoting Coal. of Clergy v. Bush, 310 F.3d 1153,

1167 (9th Cir. 2022) (Berzon, J., concurring). That language, however, is drawn from an out-of-

circuit concurrence, and, in any case, that opinion did not go so far as to treat an organization’s

“established history of concern” as determinative of next-friend standing. Instead, the concurrence

merely noted that an institution with such an established history “would be more likely to be able

to show that it is truly dedicated to the best interests of the detainees than a group without that

history and with more broad ranging interests and background.” Coal. of Clergy, 310 F.3d at 1167

(emphases added). Even if the Organizational Petitioners could readily show a longstanding

commitment to assisting immigration detainees in the particular circumstances presented here, the

analysis would need to account for other factors, including whether there is a “significant

relationship” to those individuals.

        As courts have recognized, the “existence of a significant relationship enhances the

probability that a petitioner is a suitable next friend, i.e., that a petitioner knows and is dedicated

to the [detainee’s] individual best interests.” Id. at 1162. And the “more attenuated the relationship



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between petitioner and [detainee], the less likely a petitioner can know the best interests of the

[detainee].” Id. Here, the Organizational Petitioners did not demonstrate an existing relationship

with any immigration detainee transferred to NSGB.7 They claim to want to initiate contact with

such individuals to “afford them the opportunity of legal representation,” Pets. Mot. at 11, but that

precatory interest that only arose in the midst of the removal process is a far cry from a “significant

relationship” that informs the next-friend-standing analysis. And while they now represent three

detainees, this relationship does not justify extending next-friend standing to every detainee at

NSGB.

        As for the individual Petitioners, while they may possess a stronger claim to being “truly

dedicated to the best interests” of their detained family members, they can not show that their

detained family members are unable to prosecute their own habeas cases. In fact, each of the

identified detained family members has retained counsel. See Muthana v. Pompeo, 985 F.3d 893,

901 (D.C. Cir. 2021 (“Next friend standing is a narrow exception to Article III standing, which

requires that a party assert his own rights in alleging an injury in fact.”). Thus, even if the individual

Petitioners could establish that their family members at NSGB wish for them to bring a habeas suit

on their behalf, it would be limited to an action seeking access to counsel. They would not have

next-friend standing to pursue the wide-ranging relief requested in their TRO motion and in the

complaint, particularly now that counsel has been retained.

II.     The Court lacks jurisdiction to impose broad restrictions on DHS’s ability to transfer
        detainees to or from Guantanamo as part of its removal operations.




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 One Organizational Petitioner has since communicated with three detainees. See Agudelo
Detainees Declaration ¶¶ at 13, 29, 38. Respondents were informed that the three individuals
have retained the Organization.
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       Petitioners’ claims further fail because this Court lacks jurisdiction to grant Petitioners’

far-reaching requests for relief, in particular to require the government to provide 72-hour notice

before transferring an immigration detainee in or out of NSGB. At their core, those requests seek

to dictate how the Secretary exercises her broad discretion in executing removal orders and

conducting removal operations. The requested order would interfere with the express authority

accorded to the President and his officers to manage the removal process, in violation of multiple

provisions in 8 U.S.C. § 1252.

       Section 1252(f)(1) bars the injunctive relief sought by Petitioners. That provision states

“no court (other than the Supreme Court) shall have jurisdiction or authority to enjoin or restrain

the operation of” all statutory provisions governing the inspection, apprehension, examination,

exclusion, or removal of aliens. 8 U.S.C. § 1252(f)(1). As the Supreme Court has held, § 1252(f)(1)

“generally prohibits lower courts from entering injunctions that order federal officials to take or to

refrain from taking actions to enforce, implement, or otherwise carry out the specified statutory

provisions.”8 Garland v. Aleman Gonzalez, 596 U.S. 543, 550 (2022); see 8 U.S.C. § 1252(f)(1).




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  Though the Supreme Court has noted that “§ 1252(f)(1) ‘prohibits federal courts from granting
classwide injunctive relief’ but ‘does not extend to individual cases,’” the fact that the instant
action is not styled as a class action does not change the fact that this Court is unable to order
injunctive relief here; that is, this action does not fall into § 1252(f)(1)’s “individual case”
exception. See Aleman Gonzalez, 596 U.S. at 550 (citing Reno, 525 U.S. at 481–82). The language
of the proposed TRO shows that Petitioners view their request for relief as applying to more than
just “individual cases.” See id. Petitioners’ request for relief would require Respondents to (1)
“provide all known counsel for immigrants detained in the United States . . . 72-hour notice of
their clients’ planned transfer to Guantanamo” and (2) “provide Petitioners’ counsel . . . notice of
any planned transfer . . . of a detainee to a country other [than] the United States.” See TRO at 27
(emphasis added). Petitioners’ use of the general terms “immigrants” and “a detainee,” rather than
specific references to the Petitioners themselves, indicates that they are seeking programmatic
relief as to two distinct classes: “immigrants” to be transferred to Guantanamo and “detainees” to
be transferred from Guantanamo. See id. Thus, there is no doubt that longstanding Supreme Court
precedent articulating § 1252(f)(1)’s prohibition on injunctive relief applies in full force to
Plaintiff’s 72-hour blanket notice request for all immigrants transferred to Guantanamo.
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One of those “specified statutory provisions” is 8 U.S.C. § 1231, which authorizes the detention

and removal of individuals ordered removed and specifies the government’s discretion, among

other things, to determine where to detain individuals who have been ordered removed. 8 U.S.C.

§ 1231(g) (“The Attorney General shall arrange for appropriate places of detention for aliens

detained pending removal or a decision on removal.”). The actions taken pursuant to the

President’s Memorandum to transfer and detain immigration detainees, including at NSGB, fall

within that grant of discretionary authority to agencies under § 1231(g); at the same time, a

coercive 72-hour notice requirement would “restrain” and impinge on the government’s ability to

carry out those critical administrative functions. See Aleman Gonzalez, 596 U.S. at 550; see also

Van Dinh v. Reno, 197 F.3d 427, 433 (10th Cir. 1999) (Section “1252(f) forecloses jurisdiction to

grant class-wide injunctive relief to restrain operation of §§ 1221–31 by any court other than the

Supreme Court. It is therefore apparent that a district court has no jurisdiction to restrain the

Attorney General’s power to transfer aliens to appropriate facilities by granting injunctive relief in

a Bivens class action suit.”). Such an injunction is plainly prohibited under § 1251(f)(1) and the

Court should decline to grant it. See Aleman Gonzalez, 596 U.S. at 550.

       Section 1252(a)(2)(B)(ii) similarly strips the Court of jurisdiction to grant Petitioners’

request, where it provides that “no court shall have jurisdiction to review . . . any other decision or

action of the [Executive] the authority for which is specified under this subchapter to be in the

discretion of the [Executive].” 8 U.S.C. § 1252(a)(2)(B)(ii). As with § 1252(f)(1), the executive

authority under § 1231(g) to decide the location of detention for individuals detained pending

removal implicates the review bar in § 1252(a)(2)(B)(ii). Under § 1231(g), DHS “necessarily has

the authority to determine the location of detention of an alien in deportation proceedings,”

including to transfer detainees from one detention site to another. Gandarillas-Zambrana v. Bd. of



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Immigration Appeals, 44 F.3d 1251, 1256 (4th Cir. 1995). And courts throughout this country have

recognized that determinations regarding the location of confinement for individuals subject to

removal orders are within the discretion of the Executive Branch. See, e.g., Van Dinh, 197 F.3d at

433; Wood v. United States, 175 F. App’x 419, 420 (2d Cir. 2006) (holding that the “Attorney

General was not required to detain [petitioner] in a particular state” given the Attorney General’s

“statutory discretion” under § 1231(g)); Edison C. F. v. Decker, No. 20-cv-15455-SRC, 2021 WL

1997386, at *6 (D.N.J. May 19, 2021) (“Congress has provided the Government with considerable

discretion in determining where to detain aliens pending removal or the outcome of removal

proceedings.” (citing § 1231(g)(1))). Because a strict 72-hour transfer notice with respect to

Guantanamo would interfere with that discretion to arrange for the detention of individuals subject

to final orders of removal, Petitioners’ request cannot be granted under § 1252(a)(ii)(B)(2).

       Lastly, this Court does not have jurisdiction to grant Petitioners’ desired relief under

section 1252(g), which strips courts of jurisdiction over, among other things, claims arising from

the execution of removal orders. See Pets. Mot. at 27 (requesting that Respondents provide 72-

hour notice prior to transferring individuals to or from Guantanamo); 8 U.S.C. § 1252(g) (“no

court shall have jurisdiction to hear any cause or claim by or on behalf of any alien arising from

the decision or action by the Attorney General to . . . execute removal orders against any alien

under this chapter”). The transfer and detention of the detainees at issue––who all have final orders

of removal––for the purpose of effectuating their removals are plainly actions taken to “execute

removal orders against” them. See id.; see also Hamama v. Adducci, 912 F.3d 869, 874 (6th Cir.

2018) (“Under a plain reading of the text of the statute, the Attorney General’s enforcement of

long-standing removal orders falls squarely under the Attorney General’s decision to execute

removal orders and is not subject to judicial review.” (citing Reno v. Am.-Arab Anti-Discrimination



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Comm., 525 U.S. 471, 483 (1999))). By requesting that the Court order the government to provide

a 72-hour notice of transfer in all cases, Petitioners are asking the Court to ignore § 1252(g)’s

unambiguous preclusion of judicial review in cases like this. See Hamama, 912 F.3d at 874. The

Court should decline this exceptional request.

       In evaluating whether § 1252(g) applies to certain claims, courts must also look past

“creative labeling and consider the fundamental nature of the claims asserted.” Aguilar v. I.C.E.,

510 F.3d 1, 17 (1st Cir. 2007). Though Petitioners frame their invitation for judicial review as a

“request” for a 72-hour transfer notice rather than an explicit plea for judicial review of how the

government executes removal orders, the Court must look past this “creative labeling.” See id. The

“fundamental nature” of Petitioners’ request is for a removal and detention process that features

certain procedural protections not found in the Constitution or any statute—in essence, a process

more to their liking. See id. Such “creative” framing is untenable, given § 1252(g)’s unambiguous

proscription of judicial review over the actions immigration officials necessarily take to execute

removal orders.

III.   Petitioners are not likely to prevail on the merits of their constitutional claims.

       Petitioners’ merits arguments are premised on the government’s imposition of a “total ban”

on attorney access to NSGB immigration detainees. Pets. Mot. at 17-25 (also referring to the

government’s policy as a “wholesale restriction,” “blanket denial,” “total denial,” a “complete lack

of access,” “no access at all,” a “complete ban,” a “complete abridgment”). That premise is not

correct. Detainees have access to counsel, see Agudelo Detainees Declaration ¶¶ at 13, 29, 38,

which precludes a showing of likely success on merits.




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       A.      The detainees have not been deprived of constitutional rights to counsel or to
               seek habeas relief.

        Petitioners have not established a constitutional violation warranting emergency relief. As

a factual matter, Petitioners have not established that any immigration detainee has sought and

been denied counsel or the right to seek habeas relief since being transferred to NSGB. Venghaus

Declaration at ¶ 17; Agudelo Declaration at ¶ 15. And as a legal matter, the available procedures

adequately safeguard the limited rights of the NSGB immigration detainees.

        Critically, the detainees have not been deprived of a constitutional right to access counsel.

Detainees with final orders of removal do not have the same due process protections to access

counsel as individuals applying for relief or protection as a part of their removal proceedings.

Although every individual within the jurisdiction of the United States is entitled some level of due

process, “the nature of protection[s] may vary depending upon status and circumstance[s].”

Zadvydas, 533 U.S. at 694; see Las Americas Immigrant Advoc. Ctr. v. Wolf, 507 F. Supp. 3d 1,

39 (D.D.C. 2020), dismissed sub nom. Las Americas Immigrant Advoc. Ctr. v. Mayorkas, No. 20-

5386, 2024 WL 3632500 (D.C. Cir. Aug. 1, 2024) (noting that “claims of [due process]

constitutional violations…[are] not always fully available to every claimant”); Hernandez-

Carrera v. Carlson, 547 F.3d 1237, 1254 (10th Cir. 2008) (“[I]t is not at all clear that removable

aliens benefit from precisely the same advantages of due process as do citizens or lawful permanent

resident aliens.”).

        Here, the detainees—none of whom are currently petitioners in this case and all of whom

have final, executable removal orders issued after the completion of administrative proceedings—

possess only a limited right to access counsel, as they have already exhausted their right to

challenge removability and removal to their home country. See Zadvydas, 533 U.S. at 694; Garcia

Uranga v. Barr, No. 20-3162-JWL, 2020 WL 4334999, at *7 (D. Kan. July 28, 2020) (finding no


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due process violation when an individual detained under § 1231(a)(6) did not have his attorney

present for 90-day Post Order Custody review); 8 U.S.C. § 1362; see Agudelo Detainees

Declaration ¶¶ at 10, 26, 36. And due process affords no access to counsel for applicants for

admission in expedited removal proceedings under 8 U.S.C. § 1225. See Las Americas Immigrant

Advoc. Ctr., 507 F. Supp. 3d at 39 (D.D.C. 2020) (citing Thuraissigiam, 591 U.S. at 109). Because

Petitioners only allege that the government has violated their constitutional right of access to

counsel based on an alleged blanket “ban on access” (Pets. Mot. at 24), and there is neither an

absolute ban on access nor is there an absolute constitutional right to such access, the court should

deny any emergency relief.

       Furthermore, the requested relief is beyond what due process requires to remedy the

asserted harms. Pets. Mot. at 27; Biwot v. Gonzales, 403 F.3d 1094, 1098 (9th Cir. 2005) (finding

that access to counsel is violated only when conditions are “tantamount to denial of counsel”).

Most notably, in-person visits with attorneys (see Pets. Mot. at 27) are not a constitutional

requirement when other means of communication are available. See Lyon v. ICE, 171 F. Supp. 3d

961, 983 (N.D. Cal. 2016) (challenging only protocols for telephone access because the location

of the facilities makes in-person visits “impractical at best,” making telephonic access “critical”);

S. Poverty L. Ctr v. U.S. Dep’t of Homeland Sec., No. CV 18-760 (CKK), 2020 WL 3265533, at

*21 (D.D.C. June 17, 2020) (finding that communication via technology can satisfy due process

in absence of in-person visitation during COVID-19). In this instance, requiring in-person visits

would “deeply intrude[] into the core concerns of the executive branch,” Adams v. Vance, 570 F.2d

950, 954 (D.C. Cir. 1978), such as administering detention facilities, Bell v. Wolfish, 441 U.S. 520,

548 (1979) (“the operation of [detention] facilities is peculiarly the province of the Legislative and

Executive Branches of our Government, not the Judicial.”); Turner v. Safley, 482 U.S. 78, 84-85



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(1987). Because an alternative means of speaking with counsel remains open to detainees,

Petitioners cannot show that there has been a constitutional deprivation based on the current

unavailability of in-person attorney conferences. Lyon, 171 F. Supp. 3d at 983; cf. Turkmen v.

Ashcroft, No. 02-CV-2307 (JG), 2006 WL 1662663, at *49 (E.D.N.Y. June 14, 2006), aff'd in part,

vacated in part, remanded, 589 F.3d 542 (2d Cir. 2009) (finding facts showing total

“communications blackout” prior to immigration court hearings was sufficient to state a claim for

relief).

           Furthermore, and as discussed, the detainees at NSGB are in the midst of the removal

process after the completion of removal proceedings. See Agudelo Detainees Declaration ¶¶ at

10, 26, 36. Any claims that the government must extend the removal process so that detainees

could potentially wish to contact counsel and potentially seek to raise additional claims are not

found in the Constitution and are in tension with the statute’s 90-day removal period. 8 U.S.C.

§ 1231(a)(1)(A).

           Similarly, the court should reject Petitioners’ assertion that detainees are being denied

access to habeas relief. Petitioners fail to claim with any specificity—much less show—that the

government is “unilaterally deny[ing] access to counsel to the detained immigrants at

Guantanamo.” Pets. Mot. at 18. This vague and incorrect assertion falls short of establishing that

detainees are unable to bring habeas claims. Detainees have tools to file a habeas petition,

including the ability to send and receive legal mail, seek legal representation, and to make

confidential telephone calls to counsel. Venghaus Declaration at ¶¶ 23-27; Agudelo Declaration at

¶¶ 11-16; Agudelo Detainees Declaration ¶¶ at 13, 29, 38. Petitioners have therefore failed to show

a likelihood of success on the merits of their due-process claim.




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      B.      Petitioners are not likely to prevail on their First Amendment claim asserted on
              behalf of the detainees.

       Petitioners assert that the detainees have a right to “hire and consult an attorney” under the

First Amendment’s freedom of speech, Pets. Mot. at 19, an argument which lacks merit on several

grounds. Critically, the First Amendment does not grant unfettered free speech rights in this

context. See Haitian Refugee Ctr., Inc. v. Baker, 953 F.2d 1498, 1511 n.6 (11th Cir. 1992)

(interdicted Haitians at Guantanamo and on Coast Guard ships lacked First Amendment rights);

Rafeedie v. I.N.S., 880 F.2d 506, 517 (D.C. Cir. 1989) (“The chilling effect of a pending exclusion

proceeding is not one of which Rafeedie, as an alien, may complain.”); United States ex rel. Turner

v. Williams, 194 U.S. 279, 292 (1904) (excludable alien is not entitled to First Amendment rights,

because “[h]e does not become one of the people to whom these things are secured by our

Constitution by an attempt to enter forbidden by law”).

       Nevertheless, even if the Court identifies a protected First Amendment interest, Petitioners’

claim lacks merit because the restrictions are reasonable. Under the Supreme Court’s test in Turner

v. Safley, courts uphold detention regulations as long as they are “reasonably related to legitimate

penological interests,” considering (1) whether there is a “valid, rational connection between the

prison regulation and the legitimate governmental interest put forward to justify it,” (2) “whether

there are alternative means of exercising the right that remain open to prison inmates,” (3) “the

impact accommodation of the asserted constitutional right will have on guards and other inmates,

and on the allocation of prison resources generally,” and 4) “the absence of ready alternatives”

Turner, 482 U.S. at 107; Amatel v. Reno, 156 F.3d 192, 196 (D.C. Cir. 1998) (noting that the first

factor “looms especially large”). Petitioners characterize the restrictions as a “total ban on

attorney-client communication,” Pets. Mot. at 19, which is simply not the case, as detainees do

have access to phones to seek legal representation and speak with their attorneys. Agudelo


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Detainees Declaration ¶¶ at 13, 29, 38. And while the calls are not without temporal restrictions,

this is to ensure all detainees have access and that calls with counsel are unmonitored. Furthermore,

limiting unmonitored calls to only those between client and counsel is reasonable given the

national security concerns that could arise in sharing the specifications of a United States Navy

base. See, e.g., Dep’t of Navy v. Egan, 484 U.S. 518, 527 (1988) (recognizing the Government’s

“compelling interest in withholding national security information from unauthorized persons”)

(citation omitted). Given that detainees are not precluded from contacting legal representation and

speaking with retained counsel and that any restrictions are reasonably related to the government’s

interest in maintaining the military operations onsite, they have alleged no free speech violation

under Turner.

       C.       The Organizational Petitioners have not been denied any First Amendment
                rights.

       Petitioners’ claim alleging a violation of the Organizational Petitioners’ First Amendment

right to represent and advise immigration detainees fails on the merits. Pets. Mot. at 24-25. As a

threshold point, the Organizational Petitioners have not been deprived of access to speak to three

named individuals. Cf. Pets. Mot. at 25. Indeed, the Organizations made no contact or request to

speak with the individuals—whom they did not represent at the time to TRO was filed—prior to

filing the Complaint and TRO. And since that time, Respondents arranged for phone calls between

the counsel and the three individuals. Venghaus Declaration at ¶¶ 18-20; Agudelo Detainees

Declaration ¶¶ at 13, 29, 38.

       In any event, the government “does not infringe a third party’s First Amendment right to

associate with a detainee by holding the detainee for a short period of time during which the third

party is unable to contact him.” Ukrainian-Am. Bar Ass'n, Inc. v. Baker, 893 F.2d 1374, 1381 (D.C.

Cir. 1990); Am. Immigr. Laws. Ass'n v. Reno, 18 F. Supp. 2d 38, 61 (D.D.C. 1998), aff'd, 199 F.3d


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1352 (D.C. Cir. 2000). In any place other than a public forum, the government may limit

communication as long as doing so is “reasonable and not an effort to suppress expression merely

because public officials oppose the speaker’s view.” Perry Education Ass'n v. Perry Local

Educators' Ass'n, 460 U.S. 37, 46 (1983); Adderley v. State of Fla., 385 U.S. 39, 41 (1966) (finding

that “jails [which are] built for security purposes are not [public forums]”). Indeed, “[t]o admit

everyone who would like to advise the alien . . . and to communicate their offers of assistance

would impose a substantial burden upon the Government.” Ukrainian-Am. Bar Ass'n, Inc., 893

F.2d at 1381.

       All of the detainees at NSGB who are undergoing the removal process are properly in the

custody of DHS-ICE pursuant to 8 U.S.C. § 1231. Agudelo Declaration ¶¶ at 5, 6. And,

unquestionably, the facilities at NSGB are not public forums. In re Guantanamo Bay Detainee

Continued Access to Couns., 892 F. Supp. 2d 8, 24 (D.D.C. 2012) (noting requirement for security

clearances to access the premises). Thus, the government is not required to provide access to

potential legal service providers as long as the restrictions are reasonable and not content-based.

Perry Education Ass'n, 460 U.S. at 46. Critically, any limits on the means by which attorneys can

communicate with detainees have absolutely no bearing on the content of that communication. See

Ukrainian-Am. Bar Ass'n, Inc., 893 F.2d at 1381; Am. Immigr. Laws. Ass'n, 18 F. Supp. 2d at 61.

In contrast, Petitioners define the contours of their First Amendment interest by relying on cases

that considered content-based regulations on attorney speech and conduct in public forums.

NAACP v. Button, 371 U.S. 415, 428-29 (1963) (considering statute prohibiting solicitation of

legal business on behalf of an organization); In re Primus, 436 U.S. 412, 428 (1978) (considering

constitutionality of ethical rules against soliciting legal business on behalf of an advocacy




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organization). Such cases are not probative, given that NSGB is not a public forum, nor do the

restrictions here relate whatsoever to the content of the attorneys’ speech.

        Notwithstanding Petitioners’ footnote to the contrary, the D.C. Circuit’s binding decision

in Ukrainian American Bar Association presents facts almost identical to the situation at hand.

893 F.2d at 1381. There, the plaintiff-attorney learned from a news report that a noncitizen had

jumped off a Soviet ship into the Mississippi river and—without any prior attorney-client

relationship to that individual or any other detained noncitizen—alleged a First Amendment right

of access to detainees for the purpose of offering free legal assistance. Id. at 1376-77. This Court

rejected any such “right of access,” noting specifically that “lawyers have no special first

amendment status—that is independent of the alien’s right to counsel.” Id. at 1382 (also rejecting

a carve out for pro bono lawyers).         This analysis clearly applies here: the legal services

organizations do not have a First Amendment right to access the detainees separate from any right

any detainees have to access retained counsel. Cf. Nat'l Immigr. Project of Nat'l Laws. Guild, 456

F. Supp. 3d at 28 (noting that “access to counsel is a “right is held by their clients, not the attorneys

that make up [a legal organization’s] membership”). As discussed, NSGB detainees have access

to retained counsel, as well as notice regarding how to obtain counsel, and thus there is no First

Amendment violation. Venghaus Declaration at ¶¶ 21-28; Agudelo Declaration at ¶¶ 11-16.

Finally, even if the Court were to find that the Legal Service Organizations have some First

Amendment interest, it follows that they must make the same showing as a detainee: “that an

actionable claim . . . which [the detainee] desired to bring has been lost or rejected, or that the

presentation of such a claim is currently being prevented. . . .” Ali v. District of Columbia, 278

F.3d 1, 8 (D.D.C. 2002); see also Nelson v. District of Columbia, 928 F. Supp. 2d 210, 215 (D.D.C.

2013) (denying inmate’s conclusory allegation that lack of unfettered communication with his



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lawyer adversely affected his sentencing proceeding); Akers v. Watts, 740 F. Supp. 2d 83, 96

(D.D.C. 2010) (holding that First Amendment right of access claim must allege “actual prejudice

or injury” as a result of the government’s deprivation); Delaney v. District of Columbia, 659 F.

Supp. 2d 185, 196 (D.D.C. 2009) (a denial of access claim “may be brought where (1) systemic

official action frustrates a plaintiff in preparing and filing suits . . . or (2) official action precludes

a claim resulting in the loss or inadequate settlement of a meritorious case or the loss of the

opportunity to bring suit.”). Notably, here, the Petitioners have not argued that specific prejudice

resulted from any restrictions to accessing the detainees; indeed, such an argument would be

speculative and hypothetical, given that no attorney-client relationship existed between them at the

time of filing the TRO and they have since spoken to the clients they have retained.

       D. Petitioners are not likely to prevail on their substantive due process claim.

        When it is alleged that a detainee in immigration detention has been deprived of liberty

without due process, “the dispositive inquiry is whether the challenged condition, practice, or

policy constitutes punishment.” S. Poverty L. Ctr., No. CV 18-760 (CKK), 2020 WL 3265533, at

*18 (quoting Block v. Rutherford, 468 U.S. 576, 583 (1984)). To prevail on a claim, the detainee

must establish either a “subjective intent to punish” or “that a restriction is unreasonable or

excessive relative to the Government’s proffered justification.” Americans for Immigrant Just.,

No. CV 22-3118 (CKK), 2023 WL 1438376, at *11; Doe v. Kelly, 878 F.3d 710, 714 (9th Cir.

2017). While restrictions on communications can constitute punitive detention where “alterative

and less harsh methods are available,” those methods must “equally serve the institution’s

legitimate interests.” Americans for Immigrant Just., No. CV 22-3118 (CKK), 2023 WL 1438376,

at *12. If the detainee can establish that his conditions of confinement are equal to or worse than

conditions experienced by inmates convicted of a criminal offense, the burden shifts to the



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government to establish that the conditions are “rationally related to a non-punitive purpose and…

not excessive.” Id.

           Here, Petitioners again rely on a mischaracterization of the counsel access procedures to

support their claim, stating that there has been a “total elimination of … access to counsel” and

that detainees are “cut off from the outside world.” Pets. Mot. at 21. Petitioners contend that, in

this context, substantive due process requires that Respondents provide “attorney visits in a private

conference room, if available,” “legal mail,” and facilitate at least some unmonitored legal

telephone calls.” Id. NSGB immigration detainees have access to legal mail and DoD and DHS

are facilitating unmonitored legal telephone calls. Venghaus Declaration at ¶¶ 23-28; Agudelo

Declaration at ¶¶ 11-16. Although DoD and DHS are not presently facilitating in-person attorney

visits, Petitioners acknowledge that the in-person visits need only be facilitated “if available.” Pets.

Mot. at 21. Moreover, restrictions on in-persons visits are not excessive and are rationally related

to a non-punitive purpose because they further the government’s interest in securing the detention

and military facilities at this United States Navy Base. See Hatim v. Obama, 760 F.3d 54, 59 (D.C.

Cir. 2014) (“Prison security…is beyond cavil a legitimate governmental interest”); Florence v. Bd.

of Chosen Freeholders of Cnty. of Burlington, 566 U.S. 318, 328 (2012) (“The task of determining

whether a policy is reasonably related to legitimate security interests is peculiarly within the

province and professional expertise of corrections officials”). To the extent that immigration

detainees are at NSGB for only a short period prior to removal, in-person access provides little

additional benefit and adds significant costs and obstacles to facilitate. See Venghaus Declaration

at ¶ 29.




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IV.    The detainees do not have a statutory right to counsel.

       Although 8 U.S.C. § 1362 and 8 C.F.R. § 1003.16 recognize a right to representation at no

expense to the government “in any removal proceeding before an immigration judge and in any

appeal proceeding” therefrom, this provision does not extend to detainees with final orders of

removal. See 8 U.S.C. § 1229a(a)(1) (defining “removal proceedings” as the process of “deciding

the inadmissibility or deportability of an alien”); 8 C.F.R. § 1241.1 (stating that “[a]n order of

removal made by the immigration judge at the conclusion of proceedings…shall become final

upon dismissal of an appeal by [the Board], upon waiver of appeal … [or], upon expiration of the

time allotted for an appeal …”); Jennings v. Rodriguez, 583 U.S. 281, 297 (2018) (distinguishing

between detention and the end of removal proceedings).

       As a result, the INA no longer affords any right to retained counsel after the conclusion of

removal proceedings. See Garcia Uranga, No. 20-3162-JWL, 2020 WL 4334999, at *7 (finding

no right for noncitizen detained under § 1231 to have attorney present at 90-day Post Order

Custody review); cf. Rosa v. McAleenan, 583 F. Supp. 3d 850, 883 (S.D. Tex. 2019) (finding no

statutory right to access counsel for noncitizen in Customs and Border Protection custody until he

either applies for asylum or expresses a fear of persecution because the “[c]ourt would have to

graft into the statute a right for aliens to access counsel at a point previously unrecognized in the

law.”). Moreover, at least some of the NSGB detainees are subject to expedited removal orders

and therefore did not have a statutory right to counsel even when their expedited removal

proceedings were ongoing. See 8 U.S.C. § 1225; Las Americas Immigrant Advoc. Ctr., 507 F.

Supp. 3d at 39 (D.D.C. 2020) (citing Thuraissigiam, 591 U.S. at 109). Because the NSGB

immigration detainees all have final orders of removal, they are no longer “in removal




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proceedings” or appealing therefrom, and are not covered by the statutory and regulatory language

of 8 U.S.C. § 1362 and 8 C.F.R. § 1003.16.

V.     The equities favor denial of the request for a temporary restraining order.

       The balance of harms and the equities strongly favor the government as the requested relief

(transfer restrictions in particular) would undermine the government’s discretion to manage its

limited detention resources to execute final removal orders, and to conduct sensitive foreign policy

affairs, including repatriation discussions. To the extent the Court deems an order of relief

appropriate here, it should be very narrowly tailored to account for the government’s weighty

interest and discretion, as well as the sensitivity of directing resources at NSGB, “a key operational

and logistics hub for the Department of Defense.” Venghaus Declaration at ¶ 3.

       An injunction would undermine the Executive’s discretion to allocate and marshal its

limited detention resources in support of a high-level Executive priority, the removal of individuals

subject to lawfully entered final orders of removal. Given the evidence that access protocols are in

place, the allegations here should not outweigh the harm that would be imposed by “injunctive

relief [that] deeply intrudes into the core concerns of the executive branch,” Adams v. Vance, 570

F.2d 950, 954 (D.C. Cir. 1978), including the “efficient administration of the immigration laws at

the border,” like the enforcement of expedited removal orders. Innovation Law Lab v. McAleenan,

924 F.3d 503, 510 (9th Cir. 2019) (citing Landon v. Plasencia, 459 U.S. 21, 34 (1982)). “There is

always a public interest in prompt execution of removal orders: The continued presence of an alien

lawfully deemed removable undermines the streamlined removal proceedings [Congress]

established, and ‘permit[s] and prolong[s] a continuing violation of United States law.’” Nken v.

Holder, 556 U.S. 418, 436 (2009) (quoting Reno v. Am.-Arab Anti-Discrimination Comm., 525




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U.S. 471, 490 (1999)). Here the “interest in prompt removal may be heightened” . . . “if, for

example, the alien[s] [are] particularly dangerous.” Id.

        The proposed order’s restrictions on the government’s ability to complete the removal

operation also risks interfering with sensitive repatriation negotiations and other foreign political

issues involved in the execution of hundreds of removal orders. See Agudelo Declaration ¶ at 11.

The Courts consistently recognize Executive Branch primacy in foreign policy matters, Zadvydas,

533 U.S. at, 700, and this Court should not overstep by preventing the Executive from taking its

final step in these repatriation efforts.

        Finally, if this Court were to conclude that any relief is warranted, such relief should be

narrowly crafted to afford maximum Executive discretion and avoid forced reallocation of

resources at NSGB. As an important DoD hub, the NSGB is home to many sensitive missions and

operations that are conducted in an environment with unique limitations. Venghaus Declaration at

¶ 3. Any order should therefore be carefully crafted to avoid having an operational impact on other

NSGB missions.

                                             CONCLUSION
        The Court should deny the motion for a temporary restraining order.




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Dated: February 20, 2025               Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

       I hereby certify that February 20, 2025, I electronically filed this brief with the Clerk of the

Court for the United States Court of for the District of Columbia by using the CM/ECF system.

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                                                  By: /s/ Sarah Wilson
                                                      SARAH WILSON
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